Case 1:23-bk-12861-NWW _ Doc 307 Filed 07/11/24 Entered 07/11/24 14:51:35

Main Document

Desc
Page 1 of 4

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF TENNESSEE

IN RE:

BENGAL FIVE, LLC, DBA SUPER 8 HOTEL

Debtor

AT CHATTANOOGA
)
)
)
) No. 1:23-bk-12861-NWW
) Chapter 11
)

CERTIFICATE OF SERVICE

The undersigned certifies that on July 11, 2024, a copy of Document #286, Motion of

Equity Security Holders to Dismiss Chapter 11 Bankruptcy of Bengal Five, LLC, was filed and

sent by operation of the Court’s electronic filing system to all parties indicated on the electronic

filing receipt. Others listed on the attached creditors mailing matrix who do not receive notice of

mailing by operation of the Court’s electronic filing system will receive a copy via U. S. Mail,

postage prepaid.

Bengal Five, LLC

7024 McCutcheon Road
Chattanooga, Tennessee 37421
Debtor

(via U.S. Mail and email to
Bengal. Five@gmail.com

Neal Pinkston

1216 E. Main Street, Suite 206
Chattanooga, Tennessee 37408
Attorney for Shamsul Munir
(via U.S. Mail and email to
mnealpinskston@gmail.com)

Shamsul Munir

1432 Vance Road
Chattanooga, Tennessee 37421
Majority Shareholder

(via U.S. Mail and email to
Munirs.Shams@gmail.com)

Mohammed Faridul Islam Kahn
2221 Manning Street, Apt. 1
Bronx, New York 10462-5001
Majority Shareholder

(via U.S. Mail)
Case 1:23-bk-12861-NWW_ Doc 307 Filed 07/11/24 Entered 07/11/24 14:51:35 Desc

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Ashek Kandaker

178 Wexford Terrace

Apt. 10

Jamaica, New York, 11432
Majority Shareholder
(via U.S. Mail)

Brenda Brooks, Attorney

6223 Highland Place Way, Suite 102
Knoxville, TN 37919-4035
Subchapter V Trustee

(via ECF)

David Holesinger, Esq.

Office of the United States Trustee
Historic U.S. Courthouse

31 East 11" St. 4" Floor

Chattanooga, TN 37402-4205

Attorney for the United States Trustee
(via ECF)

U.S. Trustee

Historic U.S. Courthouse

31 East 11th Street, 4th Floor
Chattanooga, Tennessee 37402
(via U.S. Mail)

This the 11" day of July, 2024.

4SIGHT LEGAL SERVICES, PLLC

By:/s/ J. Edward Nanney

J. Edward Nanney, TN BPR #009592
620 Lindsay Street, Suite 220
Chattanooga, Tennessee 37402

Tel. (423) 305-1704

Fax. (423) 305-1705

Email: ed@4sightlegalservices.com
Attorneys for the Equity Security Holders

Page 2 of 4

David S. Catuogno

K&L Gates, LLP

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Attorneys for Super8 Worldwide, Inc.
(via ECF)

TN Dept of Revenue

Marvin E. Clements, Jr.

c/o TN Attorney General's Office,
Bankruptcy Division

Attorney for Creditor, Tenn. Dept. of
Revenue

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Wade K. Cannon, Esq.

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320 McCallie Avenue

Chattanooga, TN 37402

Attorneys for Simply Bank

(via U.S. Mail)

By: /s/ J. Edward Nanney TN BPR #009592

Case 1:23-bk-12861-NWW

Label Matrix for local noticing
0649-1

Case 1:23-bk-12861-NWH

Eastern District of Tennessee
Chattanooga

Wed Jul 3 11:39:48 BD? 2024

Mohammed Bablu

c/o 4Sight Legal Services
620 Lindsay Street

Suite 220

Chattanooga, TN 37403-3461

Bengal Five LLC DBA Super 8 Hotel
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Wade K. Cannon

Gearhiser, Peters, Elliott & Cannon
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Chattanooga, TN 37402-2018

Caitlin C. Conklin

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One Newark Center, 10th Floor
Newark, NJ 07102-5237

Hanilton County Property Tax
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Chattanooga, TN 37402-1494

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Rabbikul Islam

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Itria Ventures LLC

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Main Document Page 3of4

8925 Transport
Ooltewah, TN 37363-6551

Mohammed §$. Bablu

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Biz2Credit
1 Penn Plaza, 31st Floor
New York, NY 10119-3100

City of Chattanooga

100 E llth st

Suite 200

Chattanooga, TN 37402-4288

Daniel M. Eliades
K&L Gates LLP

One Newark Center
10th Floor

Newark, NJ 07102-5237

(p) HAMILTON COUNTY TRUSTEE
ATTN BANKRUPTCY DEPT

625 GEORGIA AVENUE ROOM 210
CHATTANOOGA TN 37402-1494

(p) INTERNAL REVENUE SERVICE
CENTRALIZED INSOLVENCY OPERATIONS
PO BOX 7346

PHILADELPHIA PA 19101-7346

Sharno Islam

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Laundry Equipment
1506 W Meadow Ct

Sevierville, IN 37862-9359

Surbhi Pagar

Rrish Accounting and Tax Management, LLC
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Chattanooga, TN 37421-2978

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Kingwood, TX 77339

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Brenda G. Brooks

Subchapter V Trustee

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Marvin B. Clements dr.

State of Tennessee Attorney General
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Nashville, TN 37202-4015

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Glen Mills, PA 19342-1091

David Holesinger

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Historic U. S. Courthouse

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Internal Revenue Service
PO Box 7346
Philadelphia, PA 19101-7346

Itria Ventures

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Suite 3101

New York, NY 10119

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SBA
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Case 1:23-bk-12861-NWW_ Doc 307 Filed 07/11/24 Entered 07/11/24 14:51:35 Desc

SimplyBank.

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Super 8 Worldwide, Inc.

c/o KéL Gates LLP

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Newark, NJ 07102-5237

Tennessee Department of Revenue
1301 Riverfront Parkway

Suite 203

Chattanooga, TN 37402-3312

U.S. Small Business Administration
2 International Plaza Suite 500
Nashville, TN 37217-2021

United States Trustee
Historic U.S. Courthouse
31 EB. Eleventh Street
Fourth Floor

Chattanooga, IN 37402-2722

Main Document Page 4of4

Southeastern Laundry
1105 Shana

Suite 1

Marietta, GA 30066-2777

Sysco
1390 Enclave Parkway
Houston, TX 77077-2099

Tennessee Department of Revenue
ATTN: Bankruptcy

500 Deadrick Street

Nashville, TN 37242-0002

Kabir Uddin

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Suite 220

Chattanooga, TN 37403-3461

fiyndan Hotel
Room 19952

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Parsippany, NJ 07054

Super 8 Worldwide, Inc.

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10th Floor

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TN Dept of Revenue

c/o TN Attorney General's Office
Bankruptcy Division

PO Box 20207

Nashville, TN 37202-4015

Tennessee Department of Revenue
c/o Attorney General

PO Box 20207

Nashville, TN 37202-4015

United States Attorney's Office
ATTN: Bankruptcy

Howard H. Baker Jr. US Courthouse
800 Market Street, Ste 211
Knoxville, TN 37902-2342

Wyndham Corporate
22 Sylvan Way
Parsippany, NJ 07054-3801

The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(£) and Fed.R.Bank.P. 2002 (g) (4).

Ascentium Capital
23970 Highway 59 North
Bunble, TX, 77339

Hamilton County Trustee
Attn: Bankruptcy Dept.

625 Georgia Avenue, Room 210
Chattanooga, IN 37402

Internal Revenue Service
P. 0. Box 21126
Philadelphia,, PA 19114

The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.

(d) Internal Revenue Service
Centralized Insolvency Operations
PO Box 7346

Philadelphia, PA, 19101-7346

(u) SimplyBank.

End of Label Matrix

Mailable recipients 44
Bypassed recipients 2
Total 46
